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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------X                                           ECFCASE
 STEVEN E. GREER, MD,

                                Plaintiff,                ~         CIVIL ACTION NO.
                                                                   15 CV 6119(AJN)(JLC)
        -against-

DENNIS MEHIEL,ROBERT SERPICO,THE                                LANDLORD DEFENDANTS'
BATTERY PARK CITY AUTHORITY,HOWARD                            RESPONSES AND OBJECTIONS
MILSTEIN,STEVEN ROSSI,JANET MARTIN,                              TO PLAINTIFF'S FIRST
MILFORD MANAGEMENT,and MARINERS COVE                                 REQUEST FOR
SITE B ASSOCIATES,                                            PRODUCTION OF DOCUMENTS

                Defendants.
------------------------------X

        Pursuant to Rule 34 of the Federal Rules of Civil Procedure, defendants Howard

Milstein, Steven Rossi, Janet Martin, Milford Management, and Mariners Cove Site B

Associates (collectively the "Landlord Defendants"), by their attorneys, Rosenberg & Estis,

P.C., hereby respond and object to plaintiff Steven E. Greer's ("Plaintiff') First Demand for

Documents From Real Estate Defendants, dated January 30, 2017 (the "Requests" or

"Request"), as follows:

                                    GENERAL OBJECTIONS

         To avoid undue and unnecessary repetition, Landlord Defendants make the following

general and continuing objections to the Requests ("General Objections").             All General

Objections apply to the responses to each item. Failure to list a General Objection is not

intended, nor should it be construed, as a waiver of that objection. Any objection or lack of

objection to any portion of a particular Request is not to be deemed an admission that Landlord

Defendants have documents sought in the Request:

         1.       Landlord Defendants object to the Requests insofar as they purport to require the

production of any privileged communication or of an attorney's work-product on the ground that


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such Request is impermissible under Rule 26(b) of the Federal Rules of Civil Procedure and

other applicable laws and rules.

        2.       Landlord Defendants object to the Requests to the extent that they seek

documents (i) concerning claims that were summarily dismissed by this Court's Memorandum

and Order dated September 30, 2016 (the "Dismissal Order"; Dkt. No. 187) and/or (ii) already

precluded and/or deemed to be irrelevant to Plaintiff's First Amendment claim by this Court's(a)

Memorandum Order dated January 18, 2017 (the "Discovery Order"; Dkt. No. 228) and the

Court's ruling on Landlord Defendants' Letter Motion for a Local Rule 37.2 Conference to seek

permission to bring a protective order, made during the telephonic conference on March 6, 2017

(the "March 2017 Protective Order"; Dkt. Nos. 267-68).

                               REQUESTS AND RESPONSES

                                        DOCUMENTS

Request No.l

       Particular documents, communications, and correspondences concerning the subject
matter ofthis action.

Response to Repuest No. 1

        Landlord Defendants object to this Request as vague and subjective. Subject to the

General Objections set forth above, Landlord Defendants attempt to answer the Request as they

understand it (which is as a request for documents related to Plaintiff's First Amendment

retaliation claim and Landlord Defendants' denial and defenses). The documents responsive to

this Requests are identical to those documents produced for requests 2, 3, 12, 16, 17, and 18.

Request No.2

       Particular documents, communications, and correspondences, which mention, inter alia,
"Steven Greer", "Greer", "200 Rector Place 35F", any nickname assigned to Plaintiff, or
"BatteryPark.TV".



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Response to Request No.2

         Subject to the General Objections set forth above, Landlord Defendants searched its

electronically stored information using the date range January 1, 2013 to May 2, 2014 and

produce documents containing the words "Greer", "35F", "BatteryPark.TV", "battery park tv"

and "hcc.ty". Subject to the General Objections set forth above, Landlord Defendants hereby

produce non-privileged documents, in the form of electronically stored information in Adobe

Portable Document Format ("ESI"), responsive to the Request, as limited by the Dismissal

Order, Discovery Order, and the March 2017 Protective Order. Responsive documents are being

withheld on the basis of attorney-client privilege. See Fed R. Civ. P. 34(b)(2)(C). Responsive

documents are being withheld that are dated andlor were created subsequent to May 2, 2014, the

date MCSBA commenced a "holdover" proceeding against Plaintiff.            See Fed R. Civ. P.

34(b)(2)(C). The Bates numbers ofthe responsive documents are: LD24; LD30-32; LD38-39.

Request No.3

       Particular documents, communications, and correspondences concerning the decision to
not renew Plaintiff's lease.

Response to Request No.3

         Subject to the General Objections set forth above, Landlord Defendants hereby produce

non-privileged documents,in the form ofESI, through May 2, 2014, responsive to the Request,

as limited by the Dismissal Order, Discovery Order, and the March 2017 Protective Order.

Responsive documents are being withheld on the basis ofattorney-client privilege. See Fed R.

Civ. P. 34(b)(2)(C). Responsive documents are being withheld that are dated and/or were

created subsequent to May 2, 2014, the date MCSBA commenced a "holdover" proceeding

against Plaintiff. See Fed R. Civ. P. 34(b)(2)(C). The Bates numbers ofthe responsive

documents are: LD1-11; LD23-26; LD30-32; LD38-79; LD84-99; and LD142-1547.



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Request No.4

       Particular documents that you intend to use during depositions, for summary judgment,
and/or at trial.

Response to Request No.4

         Landlord Defendants have not determined which documents they intend to use for

depositions, for summary judgment, and/or at trial. Accordingly, no documents responsive to

this request exist. Documents will be produced as such determinations are made, to the extent

such documents are not produced herewith.

Request No.5

        Particular documents, communications, and correspondences, which support, evidence,
relate or otherwise pertain to any company employed by any real estate defendant that are
contracted or paid to provide computer memory storage, email management, and other Internet
provider functions.

Response to Request No.5

         Landlord Defendants object to this Request as vague and subjective. Subject to the

General Objections set forth above, Landlord Defendants attempt to answer the Request as they

understand it. Documents are not required to answer this Request. The email management and

computer memory storage of Landlord Defendants is handled "in house" by employees of

Milstein Properties. The Internet service providers for the building that houses the "email

servers'' of the Landlord Defendants" are (i) Tower Stream and (ii) Light Path.

Request No.6

        Particular documents, communications, and correspondences which support, evidence,
relate or otherwise pertain to Defendant's claim that the building at 200 Rector Place is "luxury"
or "condominium'" Since the New York Attorney General filings are numerous, and each one
several hundred pages in length, they are to be provided in electronic PDF form as well as
hardcopy. A recent application to the New York Attorney General requesting permission to sell
snore than 300 apartments on Rector Place should be included. Judge Cott's ruling January 18th,
2017 (Dkt. No 228), which ruled that this was an improper request when made of the BPCA
defendants is now under appeal(Dkt. No. 233) and a ruling is pending from Judge Nathan.



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Response to Request No.6

        Pursuant to the March 2017 Protective Order, Landlord Defendants shall not respond to

this Request.

Request No. 7

        Particular documents, communications, and correspondences, which support, evidence,
relate or otherwise pertain to the amount of construction work required to renovate each rental
apartment after a tenant moves out. Specifically, over the last few years, apartments have been
gutted, plumbing replaced, etc. Provide invoices, checks, blueprints, contracts and other
documents that detail the extent of this work. Judge Nathan is set to rule on an appeal (Dkt. No.
233) whether this information is fair game for discovery and defendants should err on the side of
assuming that it is. As Plaintiff explained in that appeal, this lease for space in 200 Rector Place
is nothing but a quid pro quo and payback to the real estate defendants in exchange for engaging
in the conspiracy with the BPCA.

Response to Request No. 7

        Pursuant to the March 2017 Protective Order, Landlord Defendants shall not respond to

this Request.

Request No.8

        Particular documents, communications, and correspondences, which support, evidence,
relate or otherwise pertain to any previous tenant in any Milstein-owned building having been
evicted by not having their lease from January 1, 2011 to May 2, 2014.

Response to Request No.8

         Subject to the General Objections set forth above, Landlord Defendants hereby produce

non-privileged documents, in the form of ESI, responsive to the Request, and withholds those

documents as limited by the Dismissal Order, Discovery Order, and the March 2017 Protective

Order. See Fed R. Civ. P. 34(b)(2)(C). The Bates numbers of the responsive documents are:

LD105-1547.

Request No.9

        Particular documents, communications, and correspondences which support, evidence,
relate or otherwise pertain to the state and city tax abatement program known as "421- a" that
was, or still is, honored by the BPCA, and the tax reductions to BPCA tenants, such as Mariners
Cove Site B Associates, that were generated by 421-a, and when, if ever, the 421-a program

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agreement with Mariners Cove Site B Associates and real estate defendants expired. Judge
Cott's ruling January 18th, 2017 (Dkt. No 228), which ruled that this was an improper request
when made of the BPCA defendants is now under appeal (Dkt. No. 233) and a ruling is pending
from Judge Nathan.

Response to Request No.9

        Landlord Defendants and Plaintiff agree that the issues) in this Request were previously

adjudicated as per the Dismissal Order and Discovery Order, and Plaintiffs appeal of the

Discovery Order was denied by Judge Nathan (Dkt. No. 244), and Landlord Defendants are not

required to respond to this Request.

Request No. 10

        Particular documents, communications, and correspondences which support, evidence,
relate or otherwise pertain to Defendant's claim that Mariners Cove Site B Associates, or any of
the real estate defendants, paid any property taxes, or PILOT fees, at all, and if so, how much.
Judge Cott's ruling January 18th, 2017 (Dkt. No 228), which ruled that this was an improper
request when made of the BPCA defendants is now under appeal (Dkt. No. 233) and a ruling is
pending from Judge Nathan.

Response to Request No. 10

         Landlord Defendants and Plaintiff agree that the issues) in this Request were previously

adjudicated as per the Dismissal Order and Discovery Order, and Plaintiff's appeal of the

Discovery Order was denied by Judge Nathan (Dkt. No. 244), and Landlord Defendants are not

required to respond to this Request.

Request No. 11

        Particular documents, communications, and correspondences which support, evidence,
relate or otherwise pertain to details of Plaintiff's apartment lease with real estate defendants,
which were leaked to the BPCA, including who from the real estate defendants and when
provided those private documents to the BPCA. This is an extremely vital evidence chain that
will directly demonstrate a plan and action of conspiracy

Response to Request No. 11

         No documents responsive to this Request exist.




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Request No. 12

        Particular documents, communications, and correspondences which support, evidence,
relate or otherwise pertain to Defendant's claim that they never conspired and colluded with the
BPCA defendants discussing details of Plaintiff's living arrangements. For example, emails from
Steve Rossi to Janet Martin might exist indicating that those defendants were in the dark as to
why Plaintiff was evicted. The lack of such documents will support Plaintiff's arguments that
lack of payment or other just reason was the cause for the eviction.

Response to Request No. 12

         Landlord Defendants object to this Request as vague and unclear, in part because it is

impossible to disprove a negative, but Landlord Defendants attempt to reasonably respond and

do not withhold documents based on this particular objection. No documents exist that support

any conspiracy between the BPCA Defendants and the Landlord Defendants. However, subject

to the General Objections set forth above, responsive documents, through May 2, 2014, are

produced herewith that support that there was no conspiracy and that the decision to not renew

Plaintiffs lease and commence litigation against Plaintiff was made solely by Landlord

Defendants. The Bates numbers of the responsive documents are: LD1-11; LD23-26; LD30-32;

LD38-79; LD84-99; and LD142-1547.

Request No. 13

        Particular documents, communications, and correspondences which support, evidence,
relate or otherwise pertain to any meeting of any kind between Robert Serpico, or any BPCA
staff or board members, with any of the real estate defendants or employees of the real estate
defendants, during the period from January 1, 2013 to December 31S`, 2015. This is a narrow
time period and not overly burdensome or broad. It will directly demonstrate to a jury that it was
indeed likely that the two groups of defendants knew each other well and could have plausibly
conspired to evict Plaintiff. It is true that the real estate senior managers of the various major
buildings within Battery Park City regularly meet with the BPCA. Once the location and pattern
of such meetings are gleaned, then Plaintiff and seek other evidence of details ofthose meetings.

Response to Request No. 13

         Pursuant to the March 2017 Protective Order, Landlord Defendants shall not respond to

this Request.



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Request No. 14

        Particular documents, communications, and correspondences which support, evidence,
relate or otherwise pertain to Defendant's business transactions with the BPCA, such as leasing
of property for BPCA office space use, or any money transfers between those parties, from the
year 2000 through to current day. The newly signed lease of the office space within 200 Rector
Place for BPCA use should be included, as well as any information explaining why that space
remains unused by the BPCA.

Response to Request No. 14

        Pursuant to the March 2017 Protective Order, Landlord Defendants shall not respond to

this Request.

Request No. 15

        Particular documents, communications, and correspondences, which support, evidence,
relate or otherwise pertain to BPCA defendants' personal real estate transactions, such as the sale
of apartments by Howard Milstein or Mariners Cove Site B Associates to BPCA staff and board
members, ever.

Response to Request No. 15

         Pursuant to the March 2017 Protective Order, Landlord Defendants shall not respond to

this Request.

Request No. 16

        Particular documents, communications, and correspondences, which support, evidence,
relate or otherwise pertain to Defendant's claim that Plaintiff was problematic in anyway as a
tenant. This includes, among other things, incident reports, complaints by other tenants, etc.

Response to Request No. 16

         Subject to the General Objections set forth above, Landlord Defendants hereby produce

documents, in the form of ESI, through May 2, 2014, responsive to this Request. Responsive

documents are being withheld that are dated and/or were created subsequent to May 2, 2014, the

date MCSBA commenced a "holdover" proceeding against Plaintiff.              See Fed R. Civ. P.

34(b)(2)(C). The Bates numbers of the responsive documents are: LD1-26; LD30-32; LD38-79;

LD84-99; and LD142-1547.


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Request No. 17

        Particular documents, communications, and correspondences, which support, evidence,
relate or otherwise pertain to Defendant notifying Plaintiff in writing or any other manner that he
was a problematic tenant.

Response to Request No. 17

         Subject to the General Objections set forth above, Landlord Defendants hereby produce

documents, in the form of ESI, through May 2, 2014, responsive to this Request. Responsive

documents are being withheld that are dated and/or were created subsequent to May 2, 2014, the

date MCSBA commenced a "holdover" proceeding against Plaintiff.              See Fed R. Civ. P.

34(b)(2)(C). The Bates numbers of the responsive documents are: LD1-11; LD23-26; LD30-32;

LD71; LD75-77; LD84-92; and LD97-99.

Request No. 18

        Particular documents, communications, and correspondences, which support, evidence,
relate or otherwise pertain to Plaintiffls alleged "erratic" rent payment, including photocopy
images ofthe rent checks provided by Plaintiff with legible dates on them.

Response to Repuest No. 18

         Subject to the General Objections set forth above, Landlord Defendants hereby produce

documents, in the form of ESI, through May 2, 2014, responsive to this Request. Responsive

documents are being withheld on the basis of attorney-client privilege. See Fed R. Civ. P.

34(b)(2)(C). Responsive documents are being withheld that are dated and/or were created

subsequent to May 2, 2014, the date MCSBA commenced a "holdover" proceeding against

Plaintiff. See Fed R. Civ. P. 34(b)(2)(C). The Bates numbers of the responsive documents are:

LD1-11; LD23-26; LD30-32; LD38-79; LD84-99; and LD142-1547.

Request No. 19

        Particular documents, communications, and correspondences, which support, evidence,
relate or otherwise pertain to why Loraine Doyle was terminated from Milford Management.
These are not confidential or trade secret details of personnel. The documents sought might
prove that, for example, Lorain Doyle ran a sloppy shop with sloppy accounting, and was fired

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for cause, which would support Plaintiff's assertions that the Milford Management accounting
system was an error prone mess. It might also become know through these documents that
Lorain Doyle initiated the eviction, and the protected costly course of litigation caused her to be
fired, as another hypothetical example.

Response to Request No.19

         Pursuant to the March 2017 Protective Order, Landlord Defendants shall not respond to

this Request.

Request No.20

        Particular documents that list the names of the employees fired by Howard Milstein,
Milford Management, Mariners, or any company owned by Howard Milstein that dealt with the
building at 200 Rector Place, since January 1, 2013. These are not confidential or trade secret
details of personnel, as explained in No. 19. In addition, those fired would likely be friendly
witnesses to Plaintiff.

Resuonse to Request No.20

         Pursuant to the March 2017 Protective Order, Landlord Defendants shall not respond to

this Request.

Reauest No.21

        The addresses, email contacts, and phone contact information for those people fired by
Howard Milstein, Milford Management, Mariners, or any company owned by Howard Milstein
that dealt with the building at 200 Rector Place, since January 1, 2013.

Resuonse to Request No.21

         Pursuant to the March 2017 Protective Order, Landlord Defendants shall not respond to

this Request.

Request No.22

        Particular documents, communications, and correspondences, which support, evidence,
relate or otherwise pertain to who instructed building superintendent Gus Ouranitsas, a Milford
employee, to attend the October 22nd, 2013 Community Board 1 meeting to oppose plans
orchestrated by Plaintiff and the City DOT to install safety measures at the intersection of
Battery Place and West Thames Street outside of 200 Rector Place (as seen here
https://youtu.be/FLL6iEiD5MiJ). This is a vital piece of the puzzle that could directly
demonstrate to a jury how Loraine Doyle and Steve Rossi ordered Gus to go to this meeting to
retaliate against the efforts of Plaintiff to establish safe street crossings outside of 200 Rector


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Place. This directly relates to the complaint and details within it. Gus has never been to a CB1
meeting before this one in question. It was highly unusual behavior.

Response to Request No.22

        Pursuant to the March 2017 Protective Order, Landlord Defendants shall not respond to

this Request.

Request No. 23

        Particular documents, communications, and correspondences, which support, evidence,
relate or otherwise pertain to Defendant's practices of hiring "summer help" on short-term basis,
but yet keeping those employees on the job well past summer, thereby avoiding paying the
benefits otherwise due to them as a full-time unionized doorman. Plaintiff began to expose this
scam and that is one more reason for motive by the conspirators.

Response to Request No. 23

        Pursuant to the March 2017 Protective Order, Landlord Defendants shall not respond to

this Request.

Request No. 24

       Particular documents, communications, and correspondences, which support, evidence,
relate or otherwise pertain to the security guard and company for which he works who
accompanied Gus Ouranitsas on his tour of Plaintiff's apartment, 35F, on the day of moving out,
in April of 2016. The security guard was uninvited and stepped into the apartment unannounced.
He had a shaved head and wore a long trench coat, likely wearing a firearm. This action was a
new form of retaliation meant to chill Plaintiff from proceeding with his litigation against
defendants.

Response to Repuest No.24

        Pursuant to the March 2017 Protective Order, Landlord Defendants shall not respond to

this Request.

Request No.25

        Particular documents, communications, and correspondences, which support, evidence,
relate or otherwise pertain to the legal agreement or contract that employees working in 200
Rector Place were forced to sign, sometime in 2016, that, among other things, forced them to
stop talking to tenants about matters concerning the building owners. By the real estate
defendants forcing lowly hourly-paid doormen and porters to sign this document, they directly
chilled them from interacting at all with Plaintiff. This was another aspect of the ongoing
conspiracy to retaliate against Plaintiff and jurors need to know the details. It was also possibly

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illegal coercion or extortion, which might be evidence for a criminal case that could spin-off
from this civil case.

Response to Request No.25

        Pursuant to the March 2017 Protective Order, Landlord Defendants shall not respond to

this Request.

Request No.26

        Particular documents, communications, and correspondences, which support, evidence,
relate or otherwise pertain to all complaints made about Milstein-owned buildings in Battery
Park City over the last 10-years. These include, among other things, complaints filed with the
New York City Housing Preservation &Development, or HPD. This is directly related to the
person's habit or an organization's routine practice habit as allowed by FRCP Evidence 406. If
the real estate defendants conspired against me,then they likely have done this before to others.

Resuonse to Repuest No.26

        Pursuant to the March 2017 Protective Order, Landlord Defendants shall not respond to

this Request.

Request No.27

        Particular documents, communications, and correspondences, which support, evidence,
relate or otherwise pertain to all lawsuit complaints filed against Milstein-owned buildings in
Battery Park City over the last 10-years. This is directly related to the person's habit or an
organization's routine practice habit as allowed by FRCP Evidence 406. If the real estate
defendants conspired against me, then they likely have done this before to others. It is not easily
found public information, since the real estate defendants engage in corporate shell games to
hide the true identity of the humans involved. Also, being pro se, Plaintiff lacks the ability to
seaxch court files as well as lawyers can.




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Response to Request No. 27

         Pursuant to the March 2017 Protective Order, Landlord Defendants shall not respond to

this Request.


Dated:     New York, New York                       ROSENBERG & ESTIS,P.C.
           March 14, 2017                           Attorneysfor Landlord Defendants

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